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                              UNITED STATES DISTRICT COURT
  10
                             CENTRAL DISTRICT OF CALIFORNIA
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  12
       JASON WADE SENA, SHARON                       )   Case No.: CV07-1724 AHM (JCx)
  13   JEANETTE SENA,                                )   Assigned for All Purposes To:
  14                                                 )   Hon A. Howard Matz, Courtroom 14
                    Plaintiffs,                      )
  15                                                 )   PROTECTIVE ORDER
  16         v.                                      )
                                                     )   [CHANGES MADE BY COURT]
  17
       CITY OF MAYWOOD, a public entity,             )
  18   BRUCE LEFLAR, J. PERKINS, JERRY               )
  19
       SALGADO, JOHN BOSTON, RYAN                    )
       WEST, BRENT TALMO, MEDA and                   )
  20   GARCIA and DOES 1 through 20,                 )
  21   inclusive, each of whom is sued               )   Complaint Filed:       3/9/2007
       individually and in their official capacity   )   Trial:                 10/7/2008
  22   as police officers for the City of            )   PTC:                   9/22/2008
  23   Maywood,                                      )   Mtn Cutoff:            8/11/2008
                                                     )   Disc Cutoff:           6/23/2008
  24
                 Defendants.                         )   Stlmt. Conf. Cutoff:   7/14/2008
  25   _________________________________             )
  26
  27         Upon the Parties’ stipulation and good cause appearing therefore, IT IS
  28   HEREBY ORDERED as follows:


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   1         1.     PURPOSES AND LIMITATIONS
   2         Plaintiffs have requested the production of officer personnel files, reports of
   3   prior misconduct and other documents which the Defendants deem as confidential,
   4   including, but not limited to, such documents and information designated under Penal
   5   Code §§164e, 832.5, 832.7 and 1328.5, Vehicle Code §1808.4 and Article I, Section I
   6   of the California Constitution (“Protected Material”). Disclosure is likely to involve
   7   the production of confidential or private information for which special protection
   8   from public disclosure and from use for any purpose other than prosecuting this
   9   litigation would be warranted. The parties acknowledge that this Order does not
  10   confer blanket protections on all disclosures or responses of discovery and that the
  11   protection it affords extends only to the limited information or items that are entitled
  12   under the applicable legal principals to treatment as confidential.
  13         2.     SCOPE
  14         The protections conferred by this Order cover the certain production orders by
  15   the United States Magistrate Judge Jacqueline Chooljian dated June 10, 2008
  16   regarding the hearing on Plaintiffs’ Motion to Compel Production of Documents.
  17   The production orders of June 10, 2008 provide in pertinent part as follows:
  18   a)    Copies of those portions of the notes regarding the incidents in issue and copies
  19         of those portions of the notebooks regarding the incidents in issue of each
  20         police officer, detective, investigator, or other Maywood Police Officer,
  21         including but not limited to the Internal Affairs Division, or any other law
  22         enforcement agency, who investigated the incidents in issue which reflect: (i)
  23         the officers’ perceptions of the events; (ii) decisions as to whether a particular
  24         avenue of investigation would be pursued; and (iii) findings.
  25   b)    Copies of those portions, if any, of performance evaluations for the five years
  26         preceding the incidents in issue which reflect that the individual defendants (i)
  27         used excessive force; (ii) falsified a report; (iii) made an arrest without
  28         probable cause; (iv) engaged in a cover up; or (v) failed to follow any


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   1         Maywood Police Department policy regarding the foregoing categories of
   2         conduct. Further, the dates of any such evaluation and the identity of the
   3         person making the evaluation.
   4   c)    Copies of complaints against the individual defendants alleging that any such
   5         defendant unreasonably used force/lethal force, filed a false report, made an
   6         arrest without probable cause, or engaged in a cover up, if any, for the five
   7         years preceding the incidents in issue; and findings regarding such complaints.
   8   d)    Copies of criminal or disciplinary charges against the individual defendants, if
   9         any, for the five years preceding the incidents in issue, alleging that any such
  10         defendant (i) used excessive force; (ii) falsified a report; (iii) made an arrest
  11         without probable cause; (iv) engaged in a cover up; or (v) failed to follow any
  12         Maywood Police Department policy regarding the foregoing categories of
  13         conduct. Further, findings regarding such charges, if any.
  14         Additionally, the protections conferred by this Order cover not only Protected
  15   Material, but also any information extracted therefrom, as well as all copies, excerpts,
  16   summaries or compilations thereof, plus testimony/statements by parties, witnesses or
  17   counsel to or in court or in other settings that might reveal Protected Material except
  18   in the context of a summary judgment motion or trial where such information will be
  19   presumptively available to all members of the public, including the press, unless
  20   sufficient cause is show in advance of the summary judgment proceedings or trial to
  21   proceed otherwise. See Judge Matz’s Standing Order Re: Protective Orders and
  22   Treatment of Confidential Information, ¶ I.E; Kamakana v. City and County of
  23   Honolulu, 447 F.3d 1172, 1178-80 (9th Cir. 2006); Foltz v. State Farm Mutual
  24   Automobile Ins. Co., 33 F.3d 1122 (9th Cir. 2003). Counsel shall not be required to
  25   produce the personal residential address, social security number, financial account
  26   number/records, medical information or other confidential financial or health records
  27   of any officer, or the names of family members or personal acquaintances contained
  28   in any documents which are produced.


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   1          3.     DISCLOSURE OF CONFIDENTIAL INFORMATION
   2          The party producing information which it considers to be “Confidential” shall
   3   so designate as such in a conspicuous manner at the time of the production. In
   4   particular, and by way of example, all documents designated as “Confidential” or
   5   “Confidential Information - Counsel Only” shall be stamped so indicating and with
   6   the further stamped designated “Confidential Subject to Protective Order” on each
   7   page. Such designation shall be positioned outside the margin of any and all text and
   8   shall not obstruct the document in any manner. Where practical, if only a portion of
   9   the document contains “Confidential” information, then only that portion of the
  10   document shall be designated as such. “Confidential” matters may be disclosed to the
  11   Court and its personnel and to the following “qualified persons” only:
  12                 (a)     A party, or an officer, director or employee of a party deemed
  13   necessary by counsel to aid in the prosecution, defense or settlement of this action and
  14   only under the conditions set forth herein;
  15                 (b)     Experts or consultants to any party (along with clerical or
  16   secretarial staff);
  17                 (c)     Attorneys of record, including paralegals, clerks, legal assistants
  18   and support personnel;
  19                 (d)     Court reporters employed in this action;
  20                 (e)     A witness at any deposition or other proceeding in this action
  21   and/or counsel for such witness.        Such a witness could only have access to the
  22   information if he or she is testifying regarding the matter which is confidential and
  23   only if the witness agrees to keep the matter confidential; and
  24                 (f)     Any other person to whom the parties agree in writing or stipulate
  25   on the record.
  26   ///
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   1         4.     COUNSEL-ONLY DESIGNATION OF CONFIDENTIAL
   2                INFORMATION
   3         In connection with discovery proceedings in this action, the parties or any third
   4   party may designate any documents, thing, material or testimony or other information
   5   derived wherefrom as “Confidential Information – Counsel Only” under the terms of
   6   this Order. “Confidential Information – Counsel Only” includes confidential and/or
   7   proprietary information of a party or information otherwise confidential concerning a
   8   party to the extent that such information is not disseminated by the party or publicly
   9   available.   The parties or any third party may designate material “Confidential
  10   Information – Counsel Only” in the same manner in which they would designate the
  11   material Confidential under this Order. “Confidential Information – Counsel Only”
  12   shall only be disclosed to or viewed by counsel for a party (along with paralegals,
  13   clerical or secretarial staff) but shall not be disclosed to the parties or their consultants
  14   or experts. “Confidential Information – Counsel Only” may also be disclosed to the
  15   Court and its personnel.
  16         5.     RESTRICTED USE OF CONFIDENTIAL INFORMATION
  17         All materials designated “Confidential” shall only be used for the prosecution,
  18   defense, or settlement of this lawsuit. Within sixty (60) days after entry of dismissal
  19   or final judgment in this action including appeals, or termination of this case by way
  20   of satisfied settlement, counsel for the parties shall assemble and deliver to each other
  21   all “Confidential”/“Confidential Information - Counsel Only” material other than
  22   material in the possession of the Court and its personnel. In the event of third party
  23   confidential information, such documents shall be delivered to the counsel for the
  24   party asserting confidential designation. In the alternative, the producing party and
  25   receiving party may stipulate that all or some documents containing “Confidential
  26   Information” may be destroyed so long as an appropriate certification satisfactory to
  27   the producing party is provided.
  28   ///


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   1         6.        CONTESTED DESIGNATION
   2         Any party may contest the designation of a document as “Confidential
   3   Information” or “Confidential Information – Counsel Only” or request that a
   4   document not otherwise covered by this order be considered confidential by applying
   5   to the Court or Court-appointed designee for a ruling. Any such proceedings shall be
   6   governed by Local Rule 37. The party requesting confidentiality shall have the
   7   burden of showing that such designation is appropriate. Counsel shall first undertake
   8   a good faith effort to resolve any such issue prior to submission to judicial
   9   intervention.    An appropriate basis for seeking to have a document originally
  10   designated as “Confidential Information - Counsel Only” re-designated as
  11   “Confidential” by the Court, shall be the document or materials, or portions thereof,
  12   are necessary as evidence in the prosecution or defense of the action.
  13         7.        SUBPOENAS
  14         Any party seeking information or documents from a third party (not a party to
  15   this action) shall also serve a copy of this Order simultaneously with the subpoena. In
  16   the event any person or party having possession, custody or control of any Protected
  17   Material receives a subpoena or other discovery request to produce such information,
  18   such person or party shall promptly notify, in writing, the attorneys of records for the
  19   party claiming such confidential treatment of the document, information or item, shall
  20   furnish those attorneys of record with a copy of said subpoena or other discovery
  21   request and shall cooperate with respect to any procedure to protect such information
  22   or documents as may be sought for the party whose interests may be affected. Unless
  23   legally required otherwise -- if any party makes an objection, there shall be no
  24   disclosure of the subject matter objected to pursuant to the subpoena or process order
  25   until the Court or Court-appointed designee shall have ruled upon the resulting
  26   motion, if any, and then production shall be made only in accordance with the ruling
  27   so made. If no such motion is made after a reasonable opportunity to do so, the
  28   person or entity receiving the subpoena shall be entitled to comply with the subpoena.


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   1   Nothing in this Order relieves any person or party from any legal obligation to
   2   comply with a subpoena or court order.
   3          8.      REASONABLE STEPS
   4          Each party shall take all reasonable steps necessary to have any third
   5   person/entity to whom it is contemplated that disclosure of information designated as
   6   “Confidential”/”Confidential    Information     –   Counsel   Only”    will   be   made,
   7   acknowledge and agree to be bound by the terms of this Order. Each party reserves
   8   its right to seek appropriate relief from the Court if necessary to enforce full
   9   compliance with this Order. The procedures set forth in Local Rule 37 will govern
  10   any such proceedings.
  11          9.      COURT PROCEDURES
  12          In the event that any “Confidential” documents or information is included with,
  13   or the contents thereof are disclosed in any discovery materials that are submitted as a
  14   basis for adjudication, such documents or information shall be submitted for filing
  15   under seal in accordance with Local Rule 79-5 and Judge Matz’s Standing Order Re:
  16   Protective Orders and Treatment of Confidential Information. See Judge Matz’s
  17   Standing Order Re: Protective Orders and Treatment of Confidential Information,
  18   ¶¶ I.D, I.E.
  19          10.     ORDER IS WITHOUT PREJUDICE
  20          This Order shall be without prejudice to the right of the parties to bring before
  21   the Court at any time the question of whether any particular document or information
  22   is “Confidential” or “Confidential Information - Counsel Only” or whether its use
  23   should be restricted; or to present a motion to the Court for a separate protective order
  24   as to any particular documents or information, including restrictions differing from
  25   those as specified herein. Any motion shall be subject to the Court’s ruling governing
  26   discovery and shall be brought in accordance with Local Rule 37.
  27   ///
  28   ///


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   1          11.     NO ADMISSION OR WAIVER
   2          This Order is entered solely for the purpose of facilitating the exchange of
   3   documents and testimony of individuals without involving the Court unnecessarily in
   4   the process.    Nothing in this Order, nor the production of any information or
   5   document(s) under the terms of this Order, nor any proceeding pursuant to this Order
   6   shall be deemed to have the effect of an admission or waiver by any party or of
   7   altering the confidentiality or non-confidentiality of any such document or
   8   information or altering any existing obligation of any party or the absence thereof.
   9   Nothing in this Order shall be deemed to alter in any way a party’s right to object to
  10   any discovery requests on any other grounds.
  11          12.     RETRIEVAL OF INADVERTENTLY PRODUCED MATERIAL
  12          If a “Confidential” or “Confidential Information – Counsel Only” document is
  13   inadvertently produced without proper designation, the producing party may so advise
  14   the recipient in which event the recipient shall exert every reasonable effort to treat
  15   the document or information as though timely designated and shall cooperate in its
  16   retrieval.
  17          13.     FORM: AGREEMENT TO BE BOUND BY COURT ORDER
  18          The disclosure of “Confidential” material to any person (other than the Court
  19   and its personnel) shall be conditioned upon such person, before receiving any such
  20   material, signing the AGREEMENT TO BE BOUND BY COURT ORDER FORM
  21   incorporated into this Order by this reference. Counsel for each party shall retain the
  22   original signed form which they obtained from the person with whom they share
  23   confidential material.
  24          14.     PARTIES’ OWN INFORMATION
  25          Nothing herein shall impose any restrictions on a party from disclosing its own
  26   “Confidential” information as it deems appropriate. The restrictions on the use of
  27   “Confidential” information established by this Order are applicable only to the use of
  28   material received from another party.


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   1         15.    AGREEMENT TO BE BOUND
   2         The parties agree to be bound by this stipulation even if this Order is later
   3   terminated by the Court without the consent of all parties.
   4   IT IS SO ORDERED.
   5
   6   Dated: June 23, 2008            By:    /s/ Jacqueline Chooljian
                                              United States Magistrate Judge
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   1               AGREEMENT TO BE BOUND BY COURT ORDER FORM
   2         I,                                             , (business address and telephone
   3   number )
   4   hereby acknowledge and certify that I have received a copy of the Protective Order in
   5   the matter of Sena, et al. v. City of Maywood, et al. I have read and understand the
   6   Protective Order. I agree to be bound by all the provisions of the Protective Order
   7   and to comply with its terms.
   8         I understand and agree that any information which I receive pursuant to this
   9   Protective Order shall be used solely in connection with the prosecution or defense of
  10   this lawsuit or the lawsuit entitled Sena, et al. v. City of Maywood, et al. I shall not
  11   reveal any information received pursuant to this Protective Order to any person
  12   except in compliance with this Protective Order. I further understand and agree that
  13   all such “Confidential” information and copies of the same shall be returned upon
  14   demand to counsel for the party that produced the “Confidential” documents, and in
  15   no event no later than sixty (60) days after the termination of this proceeding.
  16         I declare under penalty of perjury under the laws of the State of California and
  17   the United States of America that the foregoing is true and correct.
  18
  19         Executed on: ________________________, 20_____.
  20
  21   Location:
  22
  23   Name:
  24
  25   Signature:
  26
  27
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                                        PROTECTIVE ORDER
